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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION
UNILOC 2017 LLC

vs.                                                 Case No.: 6:19-CV-00532-ADA
APPLE INC.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Mark D. Fowler                                           , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Apple Inc.                                        in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               DLA Piper LLP (US)                                       with offices at:

               Mailing address: 2000 University Avenue

               City, State, Zip Code: East Palo Alto, CA 94303-2214

               Telephone: (650) 833-2000                    Facsimile: (650) 833-2001


       2.      Since    12/11/86                              , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of California                   .

               Applicant's bar license number is 124235                                                 .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               See attached.
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4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):
       N/A




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number: See attached.                on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
       N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):
       N/A




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
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Mark D. Fowler
Motion for Admission Pro Hac Vice

3.    Applicant has been admitted to practice before the following courts:

      Court:                                               Admission date:

      Supreme Court of California                          December 11, 1986

      Federal Circuit Court of Appeals                     March 12, 2001

      Ninth Circuit Court of Appeals                       December 11, 1986

      U.S. Dist. Court, Northern District of California    December 11, 1986

      U.S. Dist. Court, Central District of California     September 10, 1991

      U.S. Dist. Court, Southern District of California    May 10, 1991

      U.S. Dist. Court, Eastern District of California     June 13, 1991

      U.S. Dist. Court, Northern District of Florida       August 10, 2010

      U.S. Dist. Court, Eastern District of Wisconsin      May 31, 2012


5.    I have previously applied to Appear Pro Hac Vice in this district court in Cases:

      Number: 6:19-cv-00329 on the 7th day of August, 2019.

      Number: 1:18-cv-00990 on the 18th day of December, 2018.

      Number: 1:18-cv-00991 on the 18th day of December, 2018.

      Number: 1:18-cv-00838 on the 30th day of October, 2018.

      Number: 1:18-cv-00293 on the 24th day of April, 2018.

      Number: 1:18-cv-00296 on the 24th day of April, 2018.

      Number: 1:18-cv-00158 on the 19th day of March, 2018.

      Number: 1:18-cv-00159 on the 19th day of March, 2018.

      Number: 1:18-cv-00161 on the 19th day of March, 2018.

      Number: 1:18-cv-00163 on the 19th day of March, 2018.
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Number: 1:18-cv-00164 on the 19th day of March, 2018.

Number: 1:18-cv-00166 on the 19th day of March, 2018.

Number: 1:12-cv-00604 on the 26th day of October, 2012.

Number: 1:11-cv-00468 on the 31st day of August, 2012.

Number: 1:11-cv-00472 on the 16th day of August, 2011.
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                                                   UNITED STATES DISTRICT JUDGE
